Case 2:19-cv-07271-GRB-LGD Document 39-19 Filed 01/03/23 Page 1 of 16EXHIBIT
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                UNITED STATES DISTRICT COURT                        1        FEDERAL STIPULATIONS
                SOUTHERN DISTRICT OF NEW YORK                       2
                ------------------------------------------X         3            IT IS HEREBY STIPULATED AND AGREED
                MARIA SUAREZ,
                                      Plaintiff,                    4   by and between the counsel for the respective
                            -against         19-CV-02721-GRB-SIL    5   parties hereto, that the filing, sealing, and
                                                                    6   certification of the within deposition shall
                SOUTHERN GLAZER'S WINE & SPIRITS OF                 7   be and the same are hereby waived;
                NEW YORK, LLC,
                                                                    8
                                     Defendant.
                ------------------------------------------X         9            IT IS FURTHER STIPULATED AND AGREED
                                   October 4, 2022                 10   that all objections, except as to the
                                   200 Broadhollow Road            11    form of the question, shall be reserved
                                   Melville, New York
                                   1:30 p.m.                       12   to the times of the trial.
                                                                   13
                      EXAMINATION BEFORE TRIAL of a                14            IT IS FURTHER STIPULATED AND AGREED
               Defendant, Southern Glazer's Wine & Spirit, by      15   that the within deposition may be signed before
               Tonisha Durant, pursuant to Notice, held at the
                                                                   16   any Notary Public with the same force and
               above-mentioned time and place, before Camille
               Dandola, a Notary Public of the State of New        17   effect as if signed and sworn to before this
               York.                                               18   court.
                                                                   19
                                                                   20
                                                                   21               *    *    *      *
                                                                   22
                                                                   23
                                                                   24
                                                                   25


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           1   A P P E A R A N C E S:                               1    T O N I S H A D U R A N T, the witness herein,
           2                                                        2    having been first duly sworn by a Notary Public
           3   MOSER LAW FIRM, PC                                   3    in and of the State of New York, was examined
               Attorneys for Plaintiff
           4      5 East Main Street                                4    and testified as follows:
                  Huntington, New York 11743                        5            THE REPORTER: Please state your
           5                                                        6         name and address for the record.
               BY: STEVEN MOSER, ESQ.                               7            THE WITNESS: Tonisha Durant, 345
           6
                                                                    8         Underhill Boulevard, Syosset, New York.
           7
               CONSTANGY BROOKS SMITH & PROPHETE, LLP               9     EXAMINATION BY
           8   Attorneys for Defendant                             10     MR. MOSER:
                  175 Pearl Street, Suite C-402                    11        Q. Good afternoon. My name is Steve
           9      Brooklyn, New York 11201                         12    Moser. I am an attorney. I represent Maria Suarez
          10   BY: ANJANETTE CABRERA, ESQ.                         13    or I represent her in the lawsuit that she brought
          11
          12                                                       14    against Southern Glazer's Wine and Spirits.
          13                                                       15            Are you an employee of Southern
          14                                                       16    Glazer's Wine and Spirits?
          15                                                       17        A. I am.
          16
                                                                   18        Q. Before it was Southern Glazer's Wine
          17
          18                                                       19    and Spirits it was Southern Wine and Spirits; is
          19                                                       20    that correct?
          20                                                       21        A. That's correct.
          21                                                       22        Q. For the purposes of this deposition
          22                                                       23    when I say "Southern" I'll mean Southern Glazer's
          23
          24
                                                                   24    Wine and Spirits or Southern Wine and Spirits. Do
          25                                                       25    you understand that?


                                                                                               1 (Pages 1 to 4)
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           1                 T. DURANT                                1                T. DURANT
           2        A. Yes.                                           2       Q. Was there a decision issued after you
           3        Q. Have you ever testified under oath?            3   testified?
           4        A. Yes.                                           4       A. Yes.
           5        Q. On how many different occasions?               5       Q. By whom? The arbitrator?
           6        A. One.                                           6       A. Yes.
           7        Q. When was that?                                 7       Q. What was the arbitrator's decision?
           8        A. April of this year, I believe.                 8       A. I don't remember. That went between
           9        Q. With regard to?                                9   Southern and Ena.
          10        A. Grievance for Ena Scott.                      10       Q. Today is Ena Scott classified as
          11        Q. I believe that Kevin Randall also             11   clerical or warehouse?
          12   testified at that grievance. Are you aware of any     12       A. Clerical.
          13   other individuals who testified besides you and Mr.   13       Q. Today is Tatiana Herdocia still
          14   Randall?                                              14   employed by Southern?
          15        A. No.                                           15       A. Yes.
          16        Q. Why were you called to testify?               16       Q. Is Tatiana Herdocia classified as
          17        A. Because I am Ena's manager.                   17   warehouse or clerical?
          18        Q. What was the nature of the grievance?         18       A. Clerical.
          19        A. It was a title issue. A job title             19       Q. Do Tatiana and Ena report to you?
          20   issue.                                                20       A. Yes.
          21        Q. What was the specific job title issue?        21       Q. Who else reports to you today?
          22        A. She was promoted to lead inventory            22       A. Justin Vey.
          23   control clerk and it's a clerical position.           23       Q. Anyone else right now?
          24        Q. What was her issue with that?                 24       A. I am looking for another employee. One
          25        A. I believe she thought that was a              25   of my employees just moved.


                                                       Page 6                                                    Page 8
           1                T. DURANT                                 1                T. DURANT
           2   warehouse position.                                    2       Q. Which employee moved?
           3       Q. When you say "warehouse position"               3       A. William Scarpenelli.
           4   you're referring to -- are you referring to a job      4       Q. When did Mr. Scarpenelli work for
           5   that is classified as warehouse under the              5   Southern?
           6   Collective Bargaining Agreement?                       6       A. He just made his two years as of
           7       A. That's correct.                                 7   September 8th, I believe.
           8       Q. When you say "clerical" you mentioned           8       Q. Did Justin Vey previously report to
           9   clerical before are you also referring to a job        9   Maria Suarez?
          10   that is classified as clerical under the Collective   10       A. Yes, sir.
          11   Bargaining Agreement?                                 11       Q. As well as Ena Scott and Tatiana
          12       A. That is correct.                               12   Herdocia?
          13       Q. Did you testify by Zoom or in person?          13       A. That's correct.
          14       A. Person.                                        14       Q. What is Tatiana's title?
          15       Q. Where was that?                                15       A. Inventory control clerk, I believe.
          16       A. At 313 Underhill.                              16       Q. Justin Vey?
          17       Q. Was there a stenographer?                      17       A. The same.
          18       A. I believe they were on the phone. I            18       Q. Is Justin Vey classified as warehouse
          19   think, yeah, I think they were virtual.               19   or clerical?
          20       Q. Did you ever see a transcript of your          20       A. Clerical.
          21   testimony?                                            21       Q. Are you aware of any lawsuits that were
          22       A. No.                                            22   brought by either Tatiana or Ena against Southern?
          23       Q. Was a transcript of your testimony             23       A. No.
          24   taken?                                                24       Q. Are you aware of any lawsuits brought
          25       A. I don't know.                                  25   by Josie Ann Sajous against Southern?


                                                                                            2 (Pages 5 to 8)
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           1               T. DURANT                                1                T. DURANT
           2       A. No, that was before my time.                  2       A. I don't recall her name.
           3       Q. When you say that was before your time?       3       Q. Was Maria an inventory control manager
           4       A. I was in accounting at that time.             4   in the warehouse when you became inventory control
           5   Josie worked for Maria.                              5   coordinator?
           6       Q. Did you hear anything about the               6       A. I don't remember.
           7   lawsuits when you were in accounting?                7       Q. At some point did your title change?
           8       A. No.                                           8       A. Yes.
           9       Q. When did you first become aware that          9       Q. When did it change?
          10   there had been a lawsuit filed by Ena Scott?        10       A. My first title changed about 10 years
          11           MS. CABRERA: Objection to the               11   ago. I am going on my 15th year.
          12       form of the question.                           12       Q. So that would be approximately 2012?
          13       Q. Before today are you aware as you sit        13       A. Yes, I would say about that.
          14   here today whether or not Ena Scott ever sued       14       Q. What was your new title?
          15   Southern?                                           15       A. I became inventory control manager in
          16       A. I am aware as of it now, yes.                16   accounting.
          17       Q. Before today?                                17       Q. Are you aware of what Ena Scott accused
          18       A. Very recently I was aware of it, yes.        18   Southern of in the lawsuit?
          19       Q. How recently did you become aware?           19       A. No.
          20       A. When we were in arbitration.                 20       Q. Have you been continuously employed by
          21       Q. When was that arbitration again?             21   Southern since 2017?
          22       A. April or May.                                22       A. Yes.
          23       Q. Before then you did not know that Ena        23       Q. Since 2017, has there been a person
          24   had sued Southern?                                  24   classified as warehouse who was a woman?
          25       A. No.                                          25       A. Yes.


                                                    Page 10                                                   Page 12
           1                 T. DURANT                              1                T. DURANT
           2       Q. Before that you did not know that             2       Q. Who was that?
           3   Tatiana had not sued Southern?                       3       A. Linda -- I don't remember her name.
           4       A. No.                                           4   She was an overnight supervisor.
           5       Q. Before then did you know that Josie's         5       Q. She was a supervisor?
           6   had sued Southern?                                   6       A. Yes.
           7       A. No.                                           7       Q. Classified as warehouse?
           8       Q. When did you first learn that Josie's         8       A. She was warehouse, yes.
           9   had sued Southern, was that also at that             9       Q. So when did she work for Southern?
          10   arbitration?                                        10       A. I don't know.
          11       A. No, that was actually -- I don't             11       Q. Any estimate?
          12   remember how far. It was probably about a year      12       A. She was there in 2017. I think she
          13   ago, I learned about Josie's. But I didn't know     13   probably left 2018 or '19. I'm not sure.
          14   Josie so. . .                                       14       Q. Do you know why she left?
          15       Q. When were you hired by Southern?             15       A. She was part of the reorganize.
          16       A. 2007 December 31st.                          16       Q. Other than that woman Linda are you
          17       Q. What position were you hired into?           17   aware of any other female who had the warehouse
          18       A. Inventory control coordinator.               18   classification at the Syosset facility since 2017?
          19       Q. Was that a supervisory position?             19       A. No. There's women that worked there at
          20       A. No. It was a clerk position.                 20   night in the office but I am sure that they are
          21       Q. At the time that you were hired as the       21   classified as warehouse also.
          22   inventory control coordinator was there inventory   22       Q. Who are they?
          23   control manager?                                    23       A. I don't know their names.
          24       A. Yes.                                         24       Q. How do you know they were classified as
          25       Q. Who was the inventory control manager?       25   warehouse?


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           1                T. DURANT                                1                T. DURANT
           2       A. I am assuming that they work there at          2       A. If they apply, I am sure that they
           3   night, they could be clerical, but there are women    3   would be hired.
           4   there at night.                                       4       Q. Are you aware the women did apply?
           5       Q. How do you know that Linda was a               5            MS. CABRERA: Objection.
           6   warehouse classified individual?                      6       A. I don't know.
           7       A. Because she was a warehouse supervisor.        7            MS. CABRERA: I am going to
           8       Q. I am just curious how long was she with        8        object. There is a discrimination
           9   the union before she became a supervisor?             9        claim in this case. A retaliation
          10       A. Linda wasn't with the union. She was a        10        claim and exception claim. I have
          11   supervisor.                                          11        allowed you to ask these question as
          12       Q. She wasn't covered by the Collective          12        background. I believe at this point it
          13   Bargaining Agreement?                                13        is becoming an excessive waste of time.
          14       A. No, she was an employee of Southern.          14       Q. In your opinion does Southern take
          15       Q. When I say -- she wasn't a union              15   steps to make sure that discrimination either
          16   member, correct?                                     16   doesn't happen or is eliminated in the workplace?
          17       A. No.                                           17       A. Absolutely.
          18       Q. Are you aware of any female union             18       Q. How do they do that?
          19   employees at the Syosset facility who were           19       A. You would have to speak with Southern.
          20   classified as warehouse?                             20   I wouldn't know. I know on my hand, I'm a black
          21       A. I don't know. I work during the day.          21   female doing very well at Southern so.
          22   I don't work at night. I wouldn't know.              22       Q. Who asked you to testify at the
          23       Q. How many warehouse men work during the        23   arbitration?
          24   day?                                                 24            MS. CABRERA: Objection. I am
          25       A. I don't know. I don't work for the            25        going to direct her not to answer that


                                                    Page 14                                                  Page 16
           1               T. DURANT                                 1                 T. DURANT
           2   warehouse.                                            2        question. Attorney/client privilege.
           3       Q. You work in the warehouse?                     3            And if you continue to ask
           4       A. I work in the warehouse.                       4        questions about the arbitration I'm
           5       Q. Can you give me any approximation of           5        going to move to have that portion of
           6   how many warehouse personal?                          6        this transcript be sealed.
           7       A. Around 70 or 80 people.                        7            As you know an arbitration is a
           8       Q. Have you ever seen a female warehouse          8        confidential alternative dispute
           9   employee in the day?                                  9        resolution. This a public case, right,
          10       A. No.                                           10        and this is a transcript that can be
          11       Q. Has that particular issue ever been           11        used and I am going to place my
          12   topic of any meetings that you attended?             12        objection if you continue to ask
          13       A. Female warehouse employees as in union?       13        questions about the arbitration. If
          14   We have supervisors.                                 14        you continue to go down this road,
          15       Q. I mean union employees.                       15        we're going to have to get on the phone
          16       A. No.                                           16        with the court.
          17       Q. Has that topic ever come up in any            17            I've allowed it as some background
          18   meetings that you have attended?                     18        with regard to the witness' experience
          19       A. No.                                           19        with testifying. Beyond that it is not
          20       Q. Do you think that Southern                    20        relevant.
          21   discriminates against women with regard to the       21        Q. What's your current title?
          22   warehouse classification?                            22        A. Inventory control manager.
          23       A. No.                                           23        Q. How long have you had that particular
          24       Q. Do you know why at least during the day       24   title?
          25   there are no female warehouse employees?             25        A. For about six years I guess.


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           1                T. DURANT                                1               T. DURANT
           2       Q. That would be since approximately 2016?        2       Q. That was during the go-alive?
           3       A. Yes. That would be WMI inventory               3       A. During the go-alive.
           4   control manager.                                      4       Q. Did you receive any training in WMI
           5       Q. Did you ever supervise Maria Suarez?           5   before the go-alive?
           6       A. No.                                            6       A. No.
           7       Q. Did Maria Suarez ever report to you?           7       Q. Did Maria Suarez receive any training,
           8       A. No.                                            8   WMI, before the go-live?
           9       Q. Who supervised Maria Suarez?                   9       A. No.
          10       A. John Wilkinson.                               10       Q. Did John Wilkinson receive training
          11       Q. Did you ever have discussions with John       11   before the WMI go-live?
          12   Wilkinson about Maria?                               12       A. I am not sure.
          13       A. Yes.                                          13       Q. So at the go-live you had, were you
          14       Q. Did you ever have discussions with John       14   present during the go-live?
          15   Wilkinson about Maria when Maria was not present?    15       A. Yes.
          16       A. Yes. Let him know that I was sending          16       Q. Who else was present?
          17   her something that I needed her to check on.         17       A. It was a team of people. I don't know.
          18       Q. Were you involved at all in any               18       Q. Was John there?
          19   discipline of Maria?                                 19       A. John was there.
          20       A. No.                                           20       Q. Maria Suarez?
          21       Q. Were you involved at all in her               21       A. Yes. Melissa was there. The people
          22   separation from employment?                          22   from Florida were there and people from different
          23       A. No.                                           23   divisions were there.
          24       Q. Do you know why she separated from            24       Q. Did you receive any training materials?
          25   employment?                                          25       A. Yes.


                                                     Page 18                                                  Page 20
           1                T. DURANT                                1               T. DURANT
           2       A. Not my business, nope.                         2       Q. That was during the go-live week?
           3       Q. Before you were the WMI inventory              3       A. Yes.
           4   control manager, you were the inventory control       4       Q. Did you ever receive any additional
           5   manager in accounting, correct?                       5   training at WMI after the go-live week?
           6       A. Is that correct, yes.                          6       A. Whenever I needed some assistance in
           7       Q. How did your job change if at all when         7   anything, I would just call people.
           8   you became the WMI inventory control manager?         8       Q. Who would help you?
           9       A. Instead of analyzing the data I now            9       A. Melissa is my main person of contact.
          10   have the physical cases in front of me. So in        10       Q. Who did you report to when you became
          11   accounting you just go by what data information      11   the WMI inventory control manager?
          12   that is provided to you. Now I can actually walk     12       A. Kevin Randall.
          13   up to the case to confirm.                           13       Q. When you became WMI inventory control
          14       Q. Other than that did your job change at        14   manager did Maria Suarez' job title change?
          15   all when you became WMI inventory control manager?   15       A. She was the WMI administrator, I
          16       A. The system changed but the duties are         16   believe.
          17   pretty much the same.                                17       Q. Do you know if her duties changed at
          18       Q. Were you trained in WMI?                      18   all when she became the WMI administrator?
          19       A. Yes.                                          19       A. It was pretty much the same.
          20       Q. By whom?                                      20       Q. When did you begin supervising the
          21       A. Melissa. There was a few different            21   inventory control clerk?
          22   divisions came out to assist us with the go-alive    22       A. I started probably mid of 2021.
          23   and whoever else I can lean on.                      23       Q. Before then who was supervising the
          24       Q. So you received training from Melissa?        24   inventory control clerk?
          25       A. Yes.                                          25       A. Before it was Maria. After Maria


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            1                T. DURANT                                 1                T. DURANT
            2   departed it was Barry and then myself.                 2       Q. If she was doing cycle counting would
            3        Q. Is Barry Finkelstein still employed?           3   that have been reflected in the system?
            4        A. Yes.                                           4       A. Absolutely her name would pop up.
            5        Q. For how long did he supervise the              5       Q. Did you ever have any knowledge whether
            6   inventory control clerk?                               6   or not she was doing cycle counting at any time as
            7        A. Maybe for two years. I don't know.             7   WMI administrator?
            8        Q. Did he also do the job of WMI                  8       A. As far as I recall her name never
            9   administrator?                                         9   popped up.
           10        A. He assisted me. I picked up a lot of          10       Q. Whose name would pop up?
           11   slack after Maria left and Barry assisted me.         11       A. Tatiana, Ena, Justin, Anthony, Raul.
           12        Q. Were you responsible for doing any of         12       Q. Are there reports generated which can
           13   the things listed on Plaintiff's Exhibit 2, which     13   show who generated cycle counts?
           14   is this document, after Maria left?                   14       A. Yes.
           15        A. (Witness perusing document.) Yes.             15       Q. Those reports would conclusively show
           16        Q. Were you responsible for all of those         16   whether Maria was doing cycle counting, correct?
           17   things on that list after Maria left?                 17       A. Absolutely.
           18        A. Around 90 percent of it, yep.                 18       Q. How long do you keep these records for?
           19        Q. Did you ever share an office with             19       A. I believe they get purged once a year,
           20   Maria?                                                20   Every year or so.
           21        A. No.                                           21       Q. Records showing whether or not Maria
           22        Q. Do you know what she did on a regular         22   was actually doing cycle counting would not exist
           23   basis as WMI administrator?                           23   at this point; is that correct?
           24        A. We can only go by what the system             24       A. That is correct.
           25   states.                                               25       Q. Were you ever present at any meetings


                                                      Page 22                                                    Page 24
           1                T. DURANT                                  1               T. DURANT
           2        Q. Did you ever witness her doing her job?         2   with John Wilkinson and Maria Suarez?
           3        A. I never paid attention to it.                   3       A. Yes.
           4        Q. Did you ever see what she was doing             4       Q. How many different meetings?
           5    during the day?                                        5       A. One meeting a week during her PIP.
           6        A. No.                                             6       Q. When did her PIP begin?
           7        Q. There are RF guns?                              7       A. I don't know.
           8        A. Yes.                                            8       Q. Why were you brought into the meetings
           9        Q. Do they communicate with the computer?          9   during her PIP?
          10        A. Yes.                                           10       A. So we can confirm whether or not
          11        Q. Was Maria issued an RF gun?                    11   certain tasks were being processed each week.
          12        A. I don't know. I had an RF gun.                 12       Q. Describe for me what would happen at
          13        Q. Did you ever have to verify a count?           13   these weekly meetings?
          14        A. Yes.                                           14       A. Melissa sends down the report of what
          15        Q. When you verified a count with your RF         15   wasn't completed and John and Maria would go back
          16    gun does it show that that's your RF gun?             16   and forth to find out what was done and what wasn't
          17        A. Yes. Your count will override the              17   done.
          18    previous count if it's incorrect.                     18       Q. How long were the meetings typically?
          19        Q. When you do a count with the RF gun it         19       A. Probably about a half hour to 45
          20    will show that you were the one that did the count?   20   minutes. Depending on the length of the task that
          21        A. Absolutely.                                    21   had to be gone through.
          22        Q. Was Maria doing cycle counting?                22       Q. So describe for me what would happen at
          23        A. No. She was doing confirmations. She           23   a typical meeting.
          24    should have been doing confirmations not cycle        24       A. They would go bullet by bullet and say
          25    counting.                                             25   was this done, this done, was that done.


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           1                T. DURANT                                 1                 T. DURANT
           2       Q. When you say bullet by bullet you mean          2   on this list, right?
           3   line by line?                                          3        A. Yes.
           4       A. Yes. Line by line same thing as you             4        Q. What would she have to do to complete
           5   have here (indicating).                                5   the items on this list?
           6       Q. When you say this what we "have here"           6        A. She would have to either cancel the
           7   we are talking about Plaintiff's Exhibit 2, SGWS       7   invoices. If the invoices failed during the night
           8   524. John would go over this list with Maria on a      8   stream, kick back the once that can be processed
           9   weekly basis?                                          9   through the system, and that's pretty much it.
          10       A. Yep. Melissa sent her packet as to             10            With these 10's, all these NG, these
          11   what was not done and Maria would go through it and   11   failed the night stream. All these needed to be
          12   find out why wasn't certain things not done.          12   canceled. Email sent to customer service. Let
          13       Q. Did Maria offer any explanation as to          13   them know that these orders failed so that they can
          14   why these things were not getting done?               14   contact the customer.
          15       A. Most of it was that she wasn't fast            15        Q. Is there anyway to know how many Maria
          16   enough to do it. She couldn't get to it in time.      16   had actually done?
          17       Q. How many hours per week was Maria at           17        A. If it is sitting on this report and it
          18   working when she was under her PIP?                   18   is status 10, she didn't do it at all.
          19       A. I believe 35 to 40 hours. Depends on           19        Q. What percentage of the total amount of
          20   when her job is completed. I don't know.              20   work does she represent? In other words, these
          21       Q. Do you know whether she was working            21   were the items that needed to be picked and packed
          22   weekends?                                             22   and processed. How many were actually processed by
          23       A. She wasn't working with me when I was          23   her.
          24   there, no.                                            24        A. You see that date, it says 2016, how
          25       Q. Do you know if John ever required her          25   would I know that?


                                                     Page 26                                                    Page 28
           1                 T. DURANT                                1                T. DURANT
           2   to work overtime?                                      2       Q. Do you know if this represents one
           3        A. We are will required to work overtime          3   percent, two percent of the total items that she
           4   if needed.                                             4   processed?
           5        Q. I am going to show you what has been           5       A. This is are you referring to the total
           6   marked as Plaintiff's Exhibit 7 for identification     6   workload? This is one percent. This would take
           7   and I am going to turn to --                           7   you 10 minutes to clear.
           8        A. (Witness perusing document.)                   8       Q. Do you know what time she would get to
           9        Q. So my question is: Let's take SGWS             9   work in the morning?
          10   2166, Exhibit 7?                                      10       A. Her start time was either 8:30 or 9:00,
          11            MS. CABRERA: Plaintiff's Exhibit             11   I am not sure.
          12         7.                                              12       Q. Do you know how many items she was
          13        Q. What does this printout show?                 13   actually processing every week?
          14        A. This is all the open orders that are          14       A. No, she was not under my supervision.
          15   sitting in the system that has to be cleared          15   I have no idea.
          16   processed or cancelled. So when it says 10 that       16       Q. Do you know if she was successfully
          17   means no one did anything towards it.                 17   completing 90 percent of her tasks?
          18        Q. Are these all items that Maria had to         18       A. Not if it's sitting on this piece of
          19   take action on?                                       19   paper, it's not.
          20        A. Yes.                                          20       Q. Do you know what percentage of her
          21        Q. Could she have delegated this to her          21   total task this represents? And we are looking at
          22   staff to do it?                                       22   SGWS 2166.
          23        A. No, absolutely not. She would have had        23       A. Her total this represents one percent
          24   to do that herself.                                   24   of her total workload for the day. This processing
          25        Q. She would have had to do all the things       25   would take five to 10 minutes out of her day to


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           1                 T. DURANT                                1                T. DURANT
           2   clear. That has to be done before the beginning of     2   meetings that you had with John?
           3   her day. These represents failed orders that the       3       A. I didn't have time to do it. I
           4   customers needs to be notified against.                4   couldn't get to it. I'm not as fast as you.
           5        Q. How many of these were actually                5   Nonsense.
           6   resolved? These were the ones that were                6       Q. Do you know whether she did have time
           7   unresolved, right?                                     7   to do --
           8        A. Right.                                         8       A. I do it every day, so yes.
           9        Q. How many of these were actually                9       Q. Do you know what else she was doing at
          10   resolved?                                             10   the time?
          11        A. This that is sitting here you do it in        11       A. She was managing the cycle counters.
          12   bulk. You don't do it one at a time. You do a         12   So she would give them work in the morning so they
          13   snapshot of this full line and send to customer       13   could do their task for the day. She was supposed
          14   service and say it failed and cancel these orders.    14   to reconcile the inventory as the number were
          15   It's not like she has to do one at a time, it's a     15   coming back and go in the system and approve it or
          16   bulk process.                                         16   decline it. If the numbers were way off, send
          17        Q. Is this information already in the            17   cycle counters back out there, reconfirm it. If
          18   system?                                               18   you don't like their counts you walk to that
          19        A. Yes. This is a screen shot of the             19   location, you confirm it yourself.
          20   system.                                               20       Q. But you never actually saw what she was
          21        Q. She would have to send it to customer         21   doing on a daily basis?
          22   service?                                              22       A. No, I had my own job.
          23        A. Yes.                                          23       Q. Do you know what she was actually doing
          24        Q. Did the customer service have access to       24   on a day-to-day basis based on your personal
          25   this as well?                                         25   knowledge?


                                                     Page 30                                                    Page 32
           1                T. DURANT                                 1                T. DURANT
           2       A. They don't have access to WMI.                  2       A. No.
           3       Q. All of these particular items in this           3       Q. Do you know whether she did actually
           4   document, were these all things that could be done     4   have time in her day to get this done?
           5   in bulk?                                               5       A. Absolutely, I do it every day.
           6       A. Yes, all of it. It is failed night              6       Q. Did you ever see her lounging at work?
           7   stream orders. You 64 it, cancel it, and send it       7       A. Watching Maria wasn't on my to-do-list.
           8   to customer service so it's out of the system.         8       Q. Did you ever see her take a break more
           9       Q. She had to basically send this to               9   than five minutes?
          10   customer service.                                     10       A. I don't know.
          11       A. Yes, take a screen shot of it or if the        11       Q. What leads you to believe that other
          12   system even allows you to place it on Excel format,   12   than the fact you have been able to do this what
          13   send it to customer service and all of these should   13   lead you to believe that she had the time to do
          14   have been canceled out.                               14   this?
          15       Q. Did Maria ever seem angry or hostile to        15       A. It takes two seconds out of your day to
          16   you?                                                  16   do it.
          17       A. Yes.                                           17       Q. Each one of these takes two seconds?
          18       Q. Why was she angry?                             18       A. Absolutely. It's a full screen shot,
          19       A. You would have ask her. I don't know.          19   send to customer service, cancel the invoices. I
          20       Q. Why did you think that she was angry?          20   could have done this whole thing probably within 15
          21   Do you have any idea?                                 21   minutes, cleared the whole system.
          22       A. She's been angry since I have known her        22       Q. Because of that you believe that she
          23   for 15 years -- for 10 years. She has been angry      23   had enough time in her day to do that?
          24   ever since I known her.                               24       A. Absolutely.
          25       Q. How would Maria respond in these weekly        25       Q. What was the risk to Southern of Maria


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                                                     Page 33                                                    Page 35
           1                T. DURANT                                 1                T. DURANT
           2   not doing her job as WMI administrator correctly?      2   approving counts -- incorrect counts.
           3       A. It affects the financials, inventory            3       Q. What do you mean by "approving
           4   levels, bottom line.                                   4   incorrect counts"?
           5       Q. What had Maria been doing as inventory          5       A. If the cycle counters go to a location,
           6   control manager before she became WMI                  6   actually hit the cases that are not there, and but
           7   administrator?                                         7   they are physically there, instead of her looking
           8       A. Before my time. I have no idea. I was           8   to see if those cases were there, she would just
           9   in accounting at that time.                            9   approve it, and that's inventory that we lost.
          10       Q. In you were not her supervisor why were        10       Q. So what was happening was a cycle
          11   you in the meetings with her and John Wilkinson?      11   counter would go and would say -- would submit some
          12       A. I guess a third party.                         12   kind of cycle count.
          13       Q. Was she ever instructed to report              13       A. Yes.
          14   things to you by email?                               14       Q. And would say that the product is not
          15       A. Only high discrepancies and any issues         15   in this location?
          16   that she couldn't resolve on her own.                 16       A. Right.
          17       Q. When was she instructed to do this?            17       Q. When it fact it was?
          18       A. At the beginning.                              18       A. Yes.
          19       Q. When she was first hired for that job?         19       Q. What happened, what happens in WMI when
          20       A. Yes.                                           20   that happens?
          21       Q. What was she told specifically with            21       A. It takes that product out of inventory,
          22   regard to the discrepancies?                          22   takes the financials out of the budget.
          23       A. At one point she didn't have a                 23       Q. When you say Maria would approve it --
          24   threshold. She -- if it was felt out of her           24       A. Yes.
          25   comfort zone, that she should have emailed me to      25       Q. -- was there a variance that WMI would


                                                     Page 34                                                    Page 36
           1               T. DURANT                                  1                T. DURANT
           2   let me know that she has this discrepancy, if I can    2   automatically approve?
           3   take a look at it.                                     3       A. It was $250.
           4       Q. This is from the very beginning?                4       Q. Per location?
           5       A. Yes.                                            5       A. Per case.
           6       Q. How often did Maria communicate with            6       Q. So a cycle counter goes to a particular
           7   you from the beginning?                                7   location in the warehouse, does a count.
           8       A. Little to none.                                 8       A. Yes.
           9       Q. How often did John Wilkinson meet with          9       Q. If there count is off by more than $250
          10   Maria when you were not there?                        10   --
          11       A. I do not know.                                 11       A. -- it would go into a discrepancy file.
          12       Q. When you say out of her comfort zone?          12       Q. How many counts were going into the
          13       A. It was 10,000, 20,000.                         13   discrepancy file?
          14       Q. She was allowed to approve a variance          14       A. When she was there?
          15   of up to 10 or 20,000?                                15       Q. Yes.
          16       A. Not it was up to her discretion. If            16       A. Hundreds.
          17   she was uncomfortable with it, then she should let    17       Q. Hundreds were going into the
          18   me know so I can take a look at it, but at first      18   discrepancy file because the amount of product that
          19   she didn't have a threshold.                          19   was counted -- there was a $250 difference between
          20       Q. She could have approved a variance of          20   what was counted and what was actually in
          21   any amount?                                           21   inventory?
          22       A. Yes.                                           22       A. She had five counters at that time if
          23       Q. Why was that changed?                          23   each counter is 4 or 500 you have to figure about
          24       A. Because she was cycle counting out             24   100 going into discrepancies. Average about 100
          25   inventory that was actually there. She was            25   discrepancy counts per cycle counter.


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            1               T. DURANT                                 1                T. DURANT
            2       Q. Per day or per week?                           2       A. Mean.
            3       A. That's per day.                                3       Q. How do you know that she has a
            4       Q. That would be 500 discrepancies per            4   reputation of being mean?
            5   day?                                                  5       A. That's her reputation. It's throughout
            6       A. She is supposed to work them throughout        6   the building.
            7   the whole day. By the end of the day they may         7       Q. That has been through her entire tenure
            8   leave about 100 or so in the discrepancy file.        8   at Southern, is that correct?
            9       Q. So your best approximation is that she         9       A. As far as I know, yes.
           10   would have to resolve 500 discrepancies per day?     10       Q. How many discrepancies do you see per
           11       A. Yes.                                          11   day?
           12       Q. Now let's say that she tells the cycle        12       A. Now, about 118 or 20 will hit the
           13   counter go back and count it again.                  13   files. That's when I will go to the warehouse and
           14       A. Yes.                                          14   walk each one.
           15       Q. Can the cycle counter go back and count       15       Q. How big is the warehouse?
           16   it again?                                            16       A. It's we have over 30,000 locations in
           17       A. Yes.                                          17   the warehouse. Square footage I don't know.
           18       Q. Do they put information in the RF?            18       Q. Is all the product stored on floor
           19       A. Yes.                                          19   level?
           20       Q. What if there is a discrepancy again?         20       A. No.
           21       A. Then she should walk with them to see         21       Q. How high up does it go?
           22   what it is.                                          22       A. Up to the ceiling.
           23       Q. She should she physically check every         23       Q. Does each one of these -- there are
           24   discrepancy that is not resolved?                    24   thousands of locations. Is there a cube or
           25       A. Absolutely.                                   25   section?


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            1               T. DURANT                                 1                 T. DURANT
            2       Q. Is it fair to say that if the cycle            2        A. You have floor racks where it's stacked
            3   counters were doing sloppy work that it would make    3   on the floor. Multiple pallets on top of each
            4   the WMI administrator's job very difficult?           4   other. There are push backs where there is in a
            5       A. Yes.                                           5   rack, two pallets per location. You have hand
            6       Q. In your opinion were any of the cycle          6   sacks where single cases per location, and you have
            7   counters doing any sloppy work?                       7   lock up where of course everything is locked up.
            8       A. No.                                            8   You have bottle room, flow which is on like a belt,
            9       Q. How would you know?                            9   it is on a roller. You have bottle shelf, it's
           10       A. I have the same team, pretty much the         10   upstairs. Bunch of different type of locations.
           11   same team. They are pretty good with cycle           11        Q. Describe for me how to resolve the 118
           12   counting.                                            12   to 120 discrepancies?
           13       Q. Do you know if they got along with            13        A. I walk each location that comes up with
           14   Maria?                                               14   a discrepancy. If it's high, I stop a guy to pull
           15       A. They worked with her for years. I             15   it down so I can take a look. If it's low, I do it
           16   don't know.                                          16   myself. I take my RF gun and rescan it, if it is
           17       Q. Do you know if they got along with her?       17   incorrect. If it is correct, I place the inventory
           18       A. That I don't know.                            18   into a research file until I can resolve it.
           19       Q. Do you believe that they get along with       19        Q. When do you start resolving the
           20   you?                                                 20   discrepancies approximately?
           21       A. I would like to think so.                     21        A. It could be I try to start between
           22       Q. Does Maria have a particular                  22   three and five, I'll reconcile it. Make sure that
           23   reputation?                                          23   everything is reconciled before five.
           24       A. Yes.                                          24        Q. When did you resolve the discrepancies?
           25       Q. What is her reputation?                       25        A. Every night.


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                                                       Page 41                                                   Page 43
            1                 T. DURANT                                1               T. DURANT
            2        Q. How long does it take to you resolve           2   and 100 cycle count discrepancies?
            3   the discrepancies?                                     3       A. Yes.
            4        A. It depends on what the discrepancy is.         4       Q. In total how much time does that take
            5   If it's receiving issues it has to wait until the      5   you on average day?
            6   receiving department is notified. If it's a cycle      6       A. It would take me two to three hours and
            7   count issues, it's automatically. It depends why       7   depending on what the difference is, what is
            8   it's wrong.                                            8   causing the difference.
            9        Q. I am talking about the cycle counters?         9       Q. Are they any reports which can show the
           10        A. Those are done immediately. So if it's        10   cycle count discrepancy in a given day?
           11   correct in location I will rescan it with the         11       A. Yes.
           12   correct total. If it's incorrect I will place the     12       Q. How far does that go back?
           13   inventory if the cases are really not there. Place    13       A. Like I said everything gets purged once
           14   those cases into an inventory research file so it     14   a year.
           15   will not be sold until I can fix it.                  15       Q. How many so are there any records which
           16        Q. So you resolve it by putting it into an       16   would show the actual number of cycle count
           17   inventory research file?                              17   discrepancies that there were when Maria was WMI
           18        A. Yes.                                          18   administrator?
           19        Q. Is that what Maria should have been           19       A. I am sure there was not.
           20   doing? She should have been putting it into an        20       Q. Was it your job to review the cycle
           21   inventory research file?                              21   count discrepancies?
           22        A. Yes.                                          22       A. Maria's job.
           23        Q. So when did you resolve -- how many           23       Q. Do you know how many cycle count
           24   cycle count discrepancies are there per day?          24   discrepancies there were each day when Maria was
           25        A. It depends on how many cycle counters I       25   WMI administrator?


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            1                 T. DURANT                                1               T. DURANT
            2   have. If I have one cycle counter it could be 20       2       A. It wasn't my job. I don't know.
            3   discrepancies. If I have two it could be 60. It        3       Q. Do you have any reason to doubt Maria's
            4   depends on the day and how many locations they get     4   honesty or truthfulness?
            5   to.                                                    5       A. No. I don't know Maria like that.
            6        Q. Do you personally have to go to each           6       Q. Well she had a reputation for being
            7   one of those locations and verify the cycle counts?    7   mean.
            8        A. I choose to because the financials are         8       A. Yes.
            9   under my name.                                         9       Q. Did she have a reputation for being
           10        Q. On an average day how many cycle count        10   dishonest?
           11   discrepancies do you have to resolve?                 11       A. Never heard anything about that.
           12        A. It depends on the day. It could be            12       Q. In your opinion was she an honest
           13   between 60 and 100.                                   13   person?
           14        Q. Do you physically go to the warehouse         14       A. I have no idea.
           15   to do that?                                           15       Q. Did you believe her when she said she
           16        A. I absolutely do.                              16   was overwhelmed?
           17        Q. Did you do that throughout the day or         17       A. No.
           18   did you do that in the evening?                       18       Q. Why didn't you believe her?
           19        A. It depends on what my day looks like.         19       A. Because I do the work now. There is no
           20   I do other things besides the cycle counting.         20   way that she was overwhelmed. Now I do her stuff
           21        Q. How long does it take you to resolve,         21   and mine.
           22   let's say, 10 inventory cycle count discrepancies?    22       Q. At the time did you believe her?
           23        A. It depends on what the discrepancy is,        23       A. No, because what I was gathering from
           24   I can't answer that correctly.                        24   what Melissa was saying and then I would go through
           25        Q. On average day you were resolving 60          25   the steps one by one to see how long it would take.


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            1                T. DURANT                                 1               T. DURANT
            2   No, I didn't believe her.                              2   clerks?
            3        Q. You personally went through all of             3       A. Yes.
            4   steps that Maria would have to take to resolve         4       Q. And she had the authority to direct
            5   these discrepancies even though it was not your        5   them and tell them what to do?
            6   job?                                                   6       A. Absolutely, they did every day.
            7        A. Yes, if they were telling me I would           7       Q. Was her directing the inventory control
            8   have to be sitting in a PIP meeting, I am going to     8   clerks necessary for her to do her job?
            9   find out what has to be done.                          9       A. Absolutely.
           10        Q. You researched yourself how much time         10       Q. Was her directing the inventory control
           11   it could have taken her?                              11   clerks necessary so that there would not be
           12        A. Absolutely.                                   12   discrepancies that they'd have to be resolved?
           13        Q. Who told you to do that?                      13       A. Absolutely.
           14        A. Me.                                           14           MR. MOSER: Short recess.
           15        Q. Was she your competition?                     15           (Whereupon, a short recess was
           16        A. Not even a little bit.                        16        held.)
           17        Q. For how long was she inventory control        17    BY MR. MOSER:
           18   manager?                                              18       Q. When you were inventory control manager
           19        A. I have no idea.                               19   in accounting did you attend monthly meetings?
           20        Q. Do you know if she was inventory              20       A. Yes. Actually those are quarterly
           21   control manager for more than 10 years?               21   meetings. For physical inventory?
           22        A. If that is what she is saying, sure,          22       Q. No, monthly meetings with Kevin
           23   yes. I have no idea.                                  23   Randall.
           24        Q. Did you confront her with this at the         24       A. No.
           25   meetings that you had that you knew?                  25       Q. Do you know whether anyone from


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            1               T. DURANT                                  1               T. DURANT
            2       A. Yes, of how long certain tasks take,            2   accounting attended monthly meetings with Kevin
            3   yes, absolutely.                                       3   Randall?
            4       Q. What did she respond to that?                   4        A. I would think just the controller.
            5       A. You are faster than I am.                       5        Q. Do you know who else attended those
            6       Q. Had southern ever had any complaints            6   meetings?
            7   about Maria's ability to do her job before you and     7        A. No, I wasn't invited.
            8   John began meeting with her?                           8        Q. When you were inventory control manager
            9       A. You'd have to ask Southern that. I              9   in accounting they did inventory every single
           10   don't know what they received complaints for.         10   quarter, correct?
           11       Q. Can you describe anything else that            11        A. That's correct.
           12   would happen at these half-hour, 45-minute meetings   12        Q. What dates did they do it
           13   between you, John and Maria?                          13   approximately?
           14       A. It was pretty straight forward. We go          14        A. January, April, probably. I am not
           15   bullet by bullet with whatever Melissa sent that      15   sure. I don't remember.
           16   wasn't completed that week and she would have to      16        Q. Were you involved in the physical
           17   explain herself.                                      17   inventory?
           18       Q. Was she able to explain herself?               18        A. Yes.
           19       A. No.                                            19        Q. What was your involvement?
           20       Q. Was Maria's supervisory authority ever         20        A. Entering the data. Reconciling the
           21   taken away?                                           21   inventory levels.
           22       A. No.                                            22        Q. Did you interact with Maria Suarez at
           23       Q. So from the date that she became the           23   all?
           24   WMI administrator until she separated from            24        A. Only to pick up the data, the books.
           25   employment she supervised the inventory control       25        Q. What do you mean?


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            1               T. DURANT                                 1               T. DURANT
            2       A. Her team goes out, go to each location         2       A. Yes.
            3   the paper and pen and completes the inventory. Go     3       Q. On how many different occasions?
            4   to each location and verify counts.                   4       A. Probably monthly.
            5       Q. She would report to you what the actual        5       Q. What were you reporting to Mr. Randall?
            6   data was?                                             6       A. Of the things that Melissa saying was
            7       A. She would -- everything is in books, so        7   not done. Which he in turn had Melissa come down
            8   paper. She would send over the books and we would     8   on a monthly basis to help her.
            9   go over the books and enter the data into the         9       Q. Melissa would contact you and let you
           10   system so we can reconcile inventory.                10   know that certain things were not done?
           11       Q. Did you ever speak with Maria before?         11       A. She would contact me to see why certain
           12       A. Only if she was submitting books.             12   thing were not done. She was monitoring Maria's --
           13       Q. Did you ever speak with Maria before          13   she was training her.
           14   you became the WMI inventory control manager?        14       Q. And then you would inform --
           15       A. I have had conversations with Maria,          15       A. I told her she has to contact John
           16   yes.                                                 16   Wilkinson.
           17       Q. Did you ever have any disagreements?          17       Q. You would also talk to Kevin Randall
           18       A. No.                                           18   about that?
           19       Q. Did you think that she was mean?              19       A. I would talk to Kevin, yes.
           20       A. I thought she was just Maria. She is          20       Q. Are you happy Maria's gone?
           21   very hard when speaking to people.                   21       A. It doesn't phase me.
           22       Q. Did you and Maria have any                    22          MR. MOSER: I have no further
           23   disagreements about inventory or accounting before   23       questions.
           24   you became WMI inventory control manager?            24          MS. CABRERA: I have a couple.
           25       A. None.                                         25    BY MS. CABRERA:


                                                      Page 50                                                   Page 52
            1               T. DURANT                                 1               T. DURANT
            2       Q. You never had a disagreement with her?         2       Q. In the meetings that you had with John
            3       A. No.                                            3   and Maria, the one-on-one meetings that you were
            4       Q. Were you involved in the decision to           4   asked about, did Maria ever say these tasks are not
            5   terminate Maria Suarez?                               5   in my job description?
            6       A. No.                                            6       A. No.
            7       Q. Did anybody ask you for your input as          7       Q. Did she ever say to John, Hey, you took
            8   to whether she should be selected as part of the      8   away my direct report, so I can't get all of this
            9   layoff?                                               9   done?
           10       A. No.                                           10       A. No.
           11       Q. Who was involved in that?                     11       Q. Did she ever say the cycle counters are
           12       A. You would have to ask Kevin.                  12   not doing their jobs?
           13       Q. Did Kevin ever ask you for your opinion       13       A. No.
           14   of Maria?                                            14       Q. By the way, if the cycle counters are
           15       A. No.                                           15   not doing their jobs who would be responsible for
           16       Q. Did you report directly to Kevin?             16   holding them accountable?
           17       A. Yes.                                          17       A. Maria.
           18       Q. We're talking about Kevin Randall?            18       Q. Did Maria strike you as someone that
           19       A. Kevin Randall, yes.                           19   remains silent if she felt that she was being
           20       Q. For how long did you report to Kevin          20   treated unfairly?
           21   Randall?                                             21       A. No.
           22       A. As soon as I became WMI inventory             22       Q. Why did you say that?
           23   control manager.                                     23       A. She is very vocal.
           24       Q. Did you ever talk to Kevin Randall            24       Q. I am going to ask you to look at
           25   about Maria's performance?                           25   Exhibit 7 again. Now it looks to me when you look


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                                                      Page 53                                                    Page 55
            1                T. DURANT                                 1               T. DURANT
            2   at the scans attached to the e-mail. I count 43        2    BY MR. MOSER:
            3   screen shots and for the record I am going to          3       Q. Did Maria apply for the WMI inventory
            4   represent that the screen shots go from 2166 to        4   control manager position?
            5   2209.                                                  5       A. I have no idea.
            6        A. Okay.                                          6       Q. Did Kevin Randall tell you that he was
            7        Q. At the top-right corner of each page           7   giving you that position instead of Maria?
            8   there's a date.                                        8       A. No, I applied for it.
            9        A. Yes.                                           9       Q. Did Kevin Randall ever tell Maria that
           10        Q. What date is that?                            10   he was giving you the WMI inventory control manager
           11        A. That's the date the screen shot was           11   position instead of her?
           12   taken.                                                12       A. I don't know.
           13        Q. Counsel asked you earlier about one           13       Q. Were your job duties pretty much the
           14   specific screen shot. Do you recall that?             14   same as when you became WMI inventory control
           15        A. Yes.                                          15   manager as when you were inventory control manager?
           16        Q. He asked you what percentage of work of       16       A. Pretty much the same.
           17   the daily work load that one screen shot              17       Q. Did you receive an increase in salary?
           18   represented?                                          18       A. Yes.
           19        A. Yes.                                          19       Q. By how much?
           20        Q. Do you recall that testimony?                 20       A. I don't want to disclose that. Do I
           21        A. I do.                                         21   have to disclose that?
           22        Q. If that one screen shot represented one       22          MS. CABRERA: Unfortunately, yes.
           23   percent of her daily work load can you tell us what   23       A. I don't know. I don't remember.
           24   percentage of the daily work load is represented by   24       Q. There are records that it went to
           25   all 43 screen shots?                                  25   approximately $75,000 a year.


                                                      Page 54                                                    Page 56
            1                 T. DURANT                                1                T. DURANT
            2       A. This would be multiple days. For her            2       A. That sounds about right.
            3   to reconcile this would probably take about this       3       Q. When you were inventory control
            4   would take maybe two hours. So this would be           4   manager, before you received the WMI inventory
            5   probably 20 percent of her day. Only because it's      5   control manager position, what was your salary?
            6   so far back it is aging. Now it will take longer       6       A. Probably 55-65.
            7   to reconcile.                                          7       Q. If your job was more or less the same
            8       Q. How do you know that this is over               8   do you know why they were --
            9   multiple days?                                         9       A. Because taking on a bigger load.
           10       A. The screen shot date at the                    10   Meaning I now have the physical cases to look
           11   top-right-hand corner.                                11   after. Overall the reconciliation is pretty much
           12       Q. So is it fair to say that Exhibit 7 is         12   the same.
           13   addressing 43 different screen shots. Within each     13       Q. When you say that you "have the
           14   screen shot there are multiple issues?                14   physical cases to look after," what do you mean?
           15       A. Yes.                                           15       A. I manage the cases coming in the
           16       Q. Going back to the meetings with Maria.         16   building and going out.
           17       A. Ys.                                            17       Q. As well as all the physical inventory
           18       Q. Did she ever say I was never trained on        18   in the building?
           19   how to do this?                                       19       A. Yes.
           20       A. No.                                            20       Q. Who had that responsibility before you
           21            MS. CABRERA: I have no further               21   were given that responsibility?
           22        questions.                                       22       A. I have no idea.
           23            MR. MOSER: Can I just take a look            23       Q. How were you responsible for the
           24        at that.                                         24   physical inventory?
           25            MS. CABRERA: (Handing.)                      25       A. What do you mean "responsible for"?


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                                                      Page 57                                                 Page 59
            1                T. DURANT                               1            T. DURANT
            2       Q. You say that your duties didn't change        2            INDEX
            3   except -- let me not put words in your mouth.        3      EXAMINATION BY                        PAGE
            4   Let's go back.                                       4      MR. MOSER                        4, 54
            5            When you say that you had the               5
            6   responsibility to look after the physical cases,     6      MS. CABRERA                        51
            7   what do you mean?                                    7
            8       A. I now handle all suppliers. Which             8
            9   means the exit of those cases. I now have to         9
           10   update expiration dates on bins. Make sure that     10
           11   stuff is accurate. Bins are one in a box and once   11
           12   those expired I have to get those out of the        12
           13   building. There's a lot of other responsibilities   13
           14   that I am doing other than reconciliation of        14
           15   inventory.                                          15
           16       Q. When you say that you were in control        16
           17   of the inventory what do you mean? The physical     17
           18   inventory I mean.                                   18
           19       A. I am responsible for cases, the overall      19
           20   case count.                                         20
           21                                                       21
           22      (Jurat to continue on the following page.)       22
           23                                                       23
           24                                                       24
           25                                                       25


                                                      Page 58                                                 Page 60
            1               T. DURANT                                1              T. DURANT
            2       Q. Who was responsible for that before           2             CERTIFICATE
            3   that responsibility was given to you?                3   State of New York)
            4       A. I don't know.                                 4   County of Nassau)
            5           MR. MOSER: I have no further                 5       I, Camille Dandola, a Shorthand Reporter
            6        questions.                                      6   and Notary Public of the State of New York, do
            7           (Time noted: 2:54 p.m.)                      7   herby certify:
            8        ______________________________.                 8
            9           Tonisha Durant                               9       That, Tonisha Durant, the witness whose
           10    Subscribed and sworn to                            10   examination is hereinbefore set forth, was
           11    Before me this _____day                            11   duly sworn, and that such examination is a
           12    ________________, 2022.                            12   true record of the testimony given by such
           13                                                       13   witness.
           14    ____________________________                       14
           15      NOTARY PUBLIC                                    15      I further certify that I am not related
           16                                                       16   to any of the parties to this action by blood
           17                                                       17   or marriage; and that I am in no way
           18                                                       18   interested in the outcome of this matter.
           19                                                       19
           20                                                       20          _______________________________
           21                                                       21              Camille Dandola
           22                                                       22
           23                                                       23
           24                                                       24
           25                                                       25


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            1   ERRATA SHEET FOR: TONISHA DURANT
                  TONISHA DURANT, being duly sworn, deposes and
            2     says: I have reviewed the transcript of my
                  proceeding taken on 10/04/2022. The following
            3     changes are necessary to correct my testimony.
            4   ______________________________________________
            5   PAGE LINE CHANGE                             REASON
            6   ----|----|---------------------|--------------
            7   ----|----|---------------------|--------------
            8   ----|----|---------------------|--------------
            9   ----|----|---------------------|--------------
           10   ----|----|---------------------|--------------
           11   ----|----|---------------------|--------------
           12   ----|----|---------------------|--------------
           13   ----|----|---------------------|--------------
           14   ----|----|---------------------|--------------
           15   ----|----|---------------------|--------------
           16   ----|----|---------------------|--------------
           17   ----|----|---------------------|--------------
           18   ----|----|---------------------|--------------
           19   ----|----|---------------------|--------------
           20   ----|----|---------------------|--------------
           21   ----|----|---------------------|--------------
           22   ----|----|---------------------|--------------
           23         Witness Signature:_____________________
                Subscribed and sworn to, before me
           24   this ___ day of __________, 20 ___.
                ____________________ ___________________
           25   (NOTARY PUBLIC)                    MY COMMISSION EXPIRES




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